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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10          JOSIAH HUNTER,                                  CASE NO. C16-1445 MJP

11                                 Plaintiff,               CIVIL CONTEMPT ARREST
                                                            WARRANT
12                  v.

13          CITY OF FEDERAL WAY,

14                                 Defendant.

15

16          TO: Any authorized law enforcement officer:

17          You are COMMANDED to arrest and bring before this court without unnecessary delay

18   CORAZON P. PAJARILLO, whom the Court found to be in civil contempt based on the Court’s

19   July 3, 2018 subpoena to appear and testify in the above-entitled matter on July 9, 2018. After

20   her arrest, CORAZON P. PAJARILLO shall be brought immediately before this Court to address

21   her civil contempt.

22          Ms. Pajarillo may be found at either of the following locations:

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     CIVIL CONTEMPT ARREST WARRANT - 1
              Case 2:16-cv-01445-MJP Document 74 Filed 07/11/18 Page 2 of 2



 1          Work address: AM/PM Mini-mart, 31855 Pacific Highway South, Federal Way,

 2   Washington 98003.

 3          Residential address: 31223 20th Avenue S. #B103, Federal Way, Washington.

 4          Ms. Pajarillo is not to be incarcerated, but must be brought directly before the Court

 5   between the hours of 9:00 a.m. and 4:00 p.m.

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 7          Dated July 10, 2018, in Seattle, Washington.



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                                                           The Honorable Marsha J. Pechman
10
                                                           United States Senior District Court Judge
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     CIVIL CONTEMPT ARREST WARRANT - 2
